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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JACOVETTI LAW, P.C. et al.
      PLAINTIFFS,
                                                      CIVIL ACTION NO.: 2:20-cv-00163-JDW
                 V.
                                                                            Civil Action
 JAMES EVERETT SHELTON, et al.
      DEFENDANTS.




                          RESPOSNE TO ORDER TO SHOW CAUSE

        Plaintiff’s counsel hereby responds to this honorable court’s order to show cause as to why

said sanctions should not be levied against counsel at this time.


        The imposition of inherent power sanctions is appropriate only where the offender has

willfully abused judicial process or otherwise conducted litigation in bad faith. In re Itel Sec. Litig.,

791 F.2d 672, 675 (9th Cir. 1986), cert. denied, 479 U.S. 1033 91987); Kreager v. Solomon &

Flanagan, P.A. 775 F.2d 1541, 1542-43 (11th Cir. 1985); Lipsig v. Nation Student Mktg. Corp.,

663 F.2d 178, 180-81 (D.C. Cir. 1980); Link v. Walbash R.R., 370 U.S. 626, 632 (1962). Further,

the Supreme Court has held that federal courts have the power to impose sanctions pursuant to the

court's inherent power even if the violation is subject to sanctions under existing statutes or rules.

Id. However, the Court limited its holding by stating that when available the court should utilize

the rules and statutes rather than its inherent power to sanction litigants. Id. For these reasons,

Plaintiff’s counsel pleads with the court that aforementioned sanctions are not warranted, and

would be disproportionate to the violation.
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        Plaintiff’s counsel filed this case on January 9, 2020. The court ordered that Disclosure

Statements Pursuant To Fed. R. Civ. P. 7.1(a), were ordered on January 27, 2020. It is admitted

that this was not responded to in a timely manner and only submitted on March 6, 2020. This delay

was not strategic or intentional, and did not bias Defendants in any material matter. While it is

admitted that Plaintiff’s counsel could have, and likely should have, relied on the same information

for the prior statements, Plaintiff’s counsel still admittedly improperly waited on the filing of these

documents. An answer was filed on February 10, 2020. A motion for judgment on the pleadings

was submitted on February 11, 2020. This in and of itself showed Defendants did not realistically

intend on litigating this matter. It is further admitted that the order entered by the court on March

14, 2020 was not responded to in a timely manner either. Further, a motion for extension of time

was filed on February 24, 2020 and granted on February 25, 2020. As previously stated, Plaintiff’s

counsel unintentionally permitted the motion for judgment went unopposed, and was granted on

February 27, 2020. This was unintentional, because it was intended that the motion to amend would

have been filed prior to the due date, and as such, the motion would be deemed moot.


        Plaintiff’s counsel would posit that the conduct has not risen to a level such that the court

deems sanctions appropriate. See Gaiardo v. Ethyl Corp., 835 F.2d 479, 484 (3d Cir. 1987).

(holding that Rule 11 “should not be invoked against an attorney who fails to dismiss a case” even

after an opposing attorney, for example, submits evidence that the suit is barred by a statute of

limitations or res judicata).


        Additionally, there are numerous factors that can be taken into account by the court in

gauging the appropriate harshness or leniency of a sanction. Among the factors which the court

may consider against the imposition of a particular sanction are:
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   a) the good faith or bad faith of the offender;
   b) the degree of willfulness, vindictiveness, negligence or frivolousness involved in the
      offense;
   c) the knowledge, experience and expertise or the offender;
   d) the amount, reasonableness and necessity of the out-of-pocket expenses incurred by the
      offended person as a result of the misconduct;
   e) the nature and extent of prejudice, apart from out-of-pocket expenses, suffered by the
      offended person as a result of the misconduct;
   f) the relative culpability of client and counsel, and the impact on their privileged
      relationship, of an inquiry into that area;
   g) the risk of chilling the specific type of litigation involved;
   h) the impact of the sanction on the offender, including the offender's ability to pay a
      monetary sanction;
   i) the impact of the sanction on the offended party, including the offended person's need for
      compensation;
   j) the relative magnitude of sanction necessary to achieve the goal or goals of the sanction;
   k) burdens on the court system attributable to the misconduct, including consumption of
      judicial time and incurrence of juror fees and other court cost; and
   l) the degree to which the offended person's own behavior caused the expenses for which
      recovery is sought.

       While plaintiff’s counsel will not go through each of these paragraph by paragraph, it is

requested the court keeps these in mind and they will b generally referred to throughout this

response.


       First and foremost, Plaintiff’s counsel is apologetic for the delay in the response to the

court in regards to this relatively straightforward requirement. While Plaintiff’s counsel would not

say that the violation was trivial in nature, it was not intended for any strategic delay, nor was it

intentional to try and prejudice the opposing counsel in any matter. Further, it is worth nothing that

Plaintiff’s counsel has spoken with Plaintiff, and we are all in agreement that another attorney will

be coming into this matter to make sure there are no such problems in the future.


       As to the first sanction: “Pay $250 per day for each day that Mr. Thomas failed to file

corporate disclosure statements pursuant to Fed. R. Civ. P. 7.1(a) for Plaintiffs Jacovetti Law, P.C.

and FCS Capital LLC, beginning on February 3, 2020 (the final date for Mr. Thomas to comply
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with the Court’s Order directing the filing of those statements (ECF No. 2) and ending on March

6, 2020 (when Mr. Thomas filed the statement);” this sanction should be considered vastly

disproportionate to the violation. A sanction is disproportionate to the violation, absent proof of

prejudice. Prior to imposing harsh sanctions, many courts require a showing of prejudice. See

Hillig v. Commissioner, 916 F. 2d 171, 174 (4th Cir. 1990) (a showing of prejudice is required

before dismissal); Navarro v. Cohan, 856 F. 2d 141, 142 (11th Cir. 1988) (recognizing that

dismissal is a drastic sanction).


       Plaintiff’s counsel is a solo practitioner and such a sanction, coming out to $8,000.00 would

be the equivalent to 1 to months of Plaintiff’s counsel’s entire income for the time frame of one to

two months. Given the difficulty we are all face at this time, it may well come out to even more

than that. This would cause an incredible hardship, and would be disproportionate to the violation,

as the court itself in essence stated it was not a violation that prejudiced the opposing side, and

was more a technical violation. Plaintiff’s counsel also pleads with the court to understand that

any violation of an order to show cause is never intentional. The reason extensions are often

requested is so that, Plaintiff’s counsel, as a solo attorney, can try to meet deadlines as much as

possible for the cases he currently has, as if one is missed, it is never intentional, but an oversight.

Further, as previously stated, a new attorney should be entering the case very soon, to avoid any

further such missed deadlines. Additionally, the court relied on the alleged “history” of Plaintiff’s

counsel for violation of orders in prior cases. Rather than go through the lengthy history of cases

where Plaintiff’s counsel timely complied with all prior orders, as should be considered the

standard, and contrast them with the few and far between examples cited by the court, it is worth

comparing one case that the court brought up for a frame of reference.
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       In the matter of In Re Sharonn E. Thomas, bankruptcy case 18-17430-elf, the court cited

the perceived “strategic” attempts at discovery in that matter in the matter, and the perception that

Plaintiff’s counsel was not forthright in the further taking of discovery while the bankruptcy was

ongoing and further, not giving proper notice to the opposing party during that time about the

bankruptcy being filed, and further, permitted an arbitration award to be entered while the

bankruptcy has already been filed. That argument, while Plaintiff’s counsel strongly contests the

findings, and facts as alleged in that case, could certainly be construed as to biasing the opposing

side in that matter, as well as the debtor. While this is in no way an effort to try to re-litigate that

case, it is being used as a frame of reference, to show that even after the substantial showings in

that case as perceived by the court, the monetary sanction was of $1,000.00, roughly 1/8th the

amount suggested here and that already was an onerous charge for Plaintiff’s counsel. The

allegations there were of such a strong nature, that it was, objectively, understandable why it could

be perceived the sanction was warranted. While that case is still actually being litigated in the

Philadelphia state court, the point is that the those allegations warranted the sanction of $1,000.00,

and were objectively substantially more of a violation than this case, where the disclosure was not

timely submitted and the orders to show cause were timely responded to, nor a motion to extend

filed within the proper time frame. Again, this is not to make light of the court’s orders to show

cause, nor to disagree that the court rules which should always be followed, but rather to make

clear why the $8,000.00 sanction would be vastly disproportionate to the violation.


       As to the second sanction, “ Provide a copy of the transcript of the proceedings before this

Court on March 12, 2020, as well as a copy of this Court’s Order resolving this Order to Show

Cause to the disciplinary committee for every state bar in which Mr. Thomas is licensed to practice,

as well as every federal court in which Mr. Thomas is admitted. Mr. Thomas shall provide the
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transcript and order to those disciplinary committees within seven days of receiving the transcript

or this Court’s Order, whichever comes later. Within seven days of sending that information, Mr.

Thomas shall submit to the Court a sworn statement demonstrating proof of delivery to each bar

or Court.”


       This too would be particularly onerous, both because of the initial financial burden, but

also because it would in essence be trying to alert each of those committees to start an examination

of every single case plaintiff’s counsel is involved in. Plaintiff’s counsel, as previously stated, as

attempted to help clients in every way possible, and fights for clients in many ways, and to have

to defendant any perceived short coming for years because of this lapse in responding in this case,

when the opposing side did not suffer any substantial harm, and as the court put it, may well have

benefited in some ways, would cause a substantial hardship for years to come. To the extent that

the legal work would likely suffer, and cause potential further delays and extensions being needed.

Further, it does not seem clear that other jurisdictions and courts, would even have jurisdiction to

review this matter, given it is only currently being heard here in this jurisdiction. As such, we ask

that this sanction not move forward as phrased as being too broad and overly burdensome.


       As to third sanction, “Mr. Thomas shall send a copy of both the transcript and the Order

resolving the Order to Show Cause to each client he represents in this case and discuss the

transcript and Order with each client. Within seven (7) days of delivery of the Transcript and Order

pursuant to this Paragraph, Mr. Thomas shall submit to the Court a sworn statement demonstrating

proof of his delivery of the Transcript and Order, and stating when and how he discussed the

Transcript and Order with each client. The Court will disqualify Mr. Thomas from representing

any client that does not provide to the Court a signed, written statement stating that the client has

discussed the transcript and Order with Mr. Thomas and that it nonetheless wants to continue to
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have Mr. Thomas represent him or it in this case” this too should not be needed. As previously

stated, there is already another attorney that is being hired, and as such, this sanction may likely

be “moot” as it seems that a new attorney will soon be handling this matter, at minimum as co-

counsel, or as a full substitution.


        Finally, as to the fourth sanction, “the Court will issue a judicial reprimand of Mr.

Thomas.” We simply plead that the court reconsider. Plaintiff’s counsel has previously stated an

apology for the oversight of not responding in a timely matter to the order to show cause, and does

so again. It was not intentionally done, and will certainly not be repeated in this case, and to the

greatest extend possible, in any other case either.


        As such, Plaintiff’s counsel requests that the sanctions be denied.

        Date: March 19, 2020                                 ___/s/ Joshua Thomas________
                                                      Joshua L. Thomas and Associates
                                                      Joshua Thomas Esq.
                                                      Supreme Court ID No. 003992012
                                                      225 Wilmington-West Chester Pike
                                                      Suite 200
                                                      Chadds Ford, PA 19317
                                                      Phone: (215) 806-1733
                                                      Email: JoshuaLThomas@gmail.com
